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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

H-D U.S.A., LLC,
                                                   Case No. 19-cv-02256
               Plaintiff,
                                                   Judge Rebecca R. Pallmeyer
v.
                                                   Magistrate Judge Sunil R. Harjani
1EVOLVE2016, et al.,
               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendants:

                    Defendant Name                                    Line No.
                      rcshop2011                                         96
                         suhaiji                                        104
                       xiaofega0                                        121


Dated this 14th day of June 2019.           Respectfully submitted,


                                            /s/ RiKaleigh C. Johnson
                                            Amy C. Ziegler
                                            Justin R. Gaudio
                                            RiKaleigh C. Johnson
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